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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 14-554V
                                       Filed: May 5, 2016
                                       Not for Publication

*************************************
DARKA RAICEVIC,                          *
                                         *
             Petitioner,                 *
                                         *        Damages decision based on
 v.                                      *        stipulation; Guillain-Barré
                                         *        syndrome (“GBS”); influenza
SECRETARY OF HEALTH                      *        (“flu”) vaccine
AND HUMAN SERVICES,                      *
                                         *
             Respondent.                 *
                                         *
*************************************
Lisa A. Roquemore, Rancho Santa Margarita, CA, for petitioner.
Gordon E. Shemin, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES 1

        On May 4, 2016, the parties filed the attached stipulation in which they agreed to settle
this case and described the settlement terms. Petitioner alleges that she suffered Guillain-Barré
syndrome (“GBS”) as a result of the influenza (“flu”) vaccine she received on September 30,
2013. Respondent denies that the flu vaccine caused petitioner to suffer from GBS or any other
injury. Nonetheless, the parties agreed to resolve this matter informally.

        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards:

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
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    a. A lump sum of $415,295.04 in the form of a check payable to petitioner, which
       represents compensation for first year life care expenses ($102,469.31), lost earnings
       ($72,000.00), pain and suffering ($239,827.85), and past unreimbursable expenses
       ($997.88);

    b. a lump sum of $191,365.89, which represents reimbursement of a lien for services
       rendered on behalf of petitioner, in the form of a check payable jointly to petitioner and:

                        Department of Health Care Services
                        Class Action Unit
                        P.O. Box 997421, MS 4720
                        Sacramento, CA 95899-7421

        Petitioner agrees to endorse this check to the State; and

    c. an amount sufficient to purchase the annuity contract described in paragraph 10 of the
       attached stipulation, paid to the life insurance company from which the annuity will be
       purchased.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: May 5, 2016                                                                 s/ Laura D. Millman
                                                                                    Laura D. Millman
                                                                                     Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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